                UNITED STATES COURT OF INTERNATIONAL TRADE
                BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE




 ZOETIS SERVICES LLC

                        Plaintiff,                      Court No. 22-00056

        v.

 UNITED STATES,

                        Defendant.


                                     AMENDED COMPLAINT

       Zoetis Services LLC (“Plaintiff”), by and through its attorneys, Faegre Drinker Biddle &

Reath LLP, for its amended complaint against the United States alleges as follows:

                                         JURISDICTION

       1.      This is an action contesting U.S. Customs and Border Protection’s (“CBP”)

decision under Section 1515 of the Tariff Act of 1930 (19 U.S.C. § 1515) denying Plaintiff’s

protest of the tariff classification and rate of duty assessed on certain Chlortetracycline Concentrate

Feed Grade Powder (“CTC Concentrate”) under the Harmonized Tariff Schedule of the United

States (“HTSUS”).

       2.      Plaintiff is the importer of record for the entry that is the subject of this action and

has standing to bring this action.

       3.      This Court has jurisdiction over this action under 28 U.S.C. § 1581(a).

       4.      The entry that is the subject of this litigation has liquidated and an administrative

protest was timely filed and subsequently denied by CBP on December 9, 2021.




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       5.      This civil action was timely commenced through the filing of a summons within

180 days of the protest denial.

       6.      Plaintiff has paid all liquidated import duties and fees on the entry at issue prior to

commencing this action.

        BACKGROUND AND DESCRIPTION OF MERCHANDISE INVOLVED

       7.      The imported material that is the subject of this action is CTC Concentrate, a

material containing the broad-spectrum antibiotic, Chlortetracycline (CAS No. 57-62-5).

       8.      The CTC Concentrate at issue in this action was manufactured by Jinhe

Biotechnology Co., Ltd.

       9.      8. In its imported condition, the CTC Concentrate consists of the antibiotic

incorporated with other materials, i.e., aChlortetracycline (the only active ingredient), mycelial

cake and inorganic salts, microbial cells, residual nutrients, other fermentation components, and

metabolic products.

       10.     9. A mycelial cake serves as a delivery mechanismthe primary carrier medium for

the Chlortetracycline antibiotic.

       11.     The CTC Concentrate is a fine brown powder or granular substance.

       12.     10. The CTC Concentrate is imported in bags weighing 750 kilograms (“kg”) per

bag.

       13.     11. The CTC Concentrate imported under the entry at issue in this litigation hasd

an antibiotic potency between 23.8% and 24.7%.

       14.     The Chlortetracycline in the CTC Concentrate is a result of a fermentation process

where certain complexing agents (i.e., calcium carbonate in the form of hydrated lime) compound




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with the Chlortetracycline at stable pH ranges to facilitate the post-importation processing and

veterinarian directed delivery to livestock.

       15.      12. The imported CTC Concentrate is used to manufacture finished products that

are intended to treat and control a wide range of respiratory and enteric diseases in livestock,

including bacterial pneumonia, bacterial enteritis, anaplasmosis, and other diseases.

       16.      13. The imported CTC Concentrate is subject to U.S. Food and Drug

Administration (“FDA”) requirements and is a recognized antibiotic. See Center for Veterinary

Medicine Guidance for Industry (“GFI”) #213, which became effective in January 2017.

       17.      14. FDA restricts the use of CTC Concentrate in animal feed to “uses that are

associated with the treatment, control, and prevention of specific diseases to be therapeutic uses

that are necessary for assuring the health of food-producing animals.” Id.

       18.      15. FDA requires “veterinary oversight in the use of antimicrobial new animal

drugs,” such as CTC Concentrate, “to assure their appropriate and judicious use.” Id.

       19.      16. In its imported condition, the CTC Concentrate cannot be safely administered

to livestock.

       20.      17. The imported CTC Concentrate must undergo post-importation processing to

ensure it can be safely administered to animals under veterinary oversight.

       21.      18. Such post-importation processing includes combining the CTC Concentrate

with calcium sulfate and other excipients (carriers) via a granulation process that utilizes roll

compaction and/or a mixing process to create a standardized and consistent potency of the

Chlortetracycline antibiotic for ultimate delivery to livestock.

       22.      19. After the post-importation processes, Zoetis markets and sells the finished

products made with CTC Concentrate, and, sometimes, other antibiotics such as Sulfamethazine,



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as Aureomycin® with New Animal Drug Application (“(NADA”) Number                                                 48-761),

Aureomycinx® S40/40 (NADA 35-688), AUREO S 700® (NADA 35-805), and ChlorMax®

(NADA 46-699).

       23.      20. These finished products are recognized by the FDA as Type-A Medicated Feed

Articles 1 and are sold by Zoetis to FDA-licensed Feed Mills (directly or through distributors)

where they are formulated into Type-C Medicated Feeds for multiple livestock animal species.

       24.      21. The FDA considers Type-A Medicated Feed Articles to be a “drug.” FDA, Past

and Present of Medicated Feeds, available at https://www.fda.gov/media/90158/download (Oct.

2014) (last visited AugSept. 2822, 20212023).

       25.      22. Type-C Medicated Feeds containing CTC Concentrate contained in Type A

medicated articles are manufactured at FDA-licensed Ffeed Mmills and are only soldused under

the controloversight of veterinarians.

       26.      23. The subject CTC Concentrate was imported under HTSUS tariff item

2309.90.1050, the tariff classification for “Preparations of a kind used for animal feeding: Other:

Mixed feed or mixed ingredients: Other.”

       27.      24. CBP liquidated the entry of the subject CTC Concentrate under HTSUS tariff

item 2309.90.1050 at a duty rate of free, but with the assessment of Section 301 retaliatory duties

of 25% under secondary HTSUS 9903.88.03.

       28.      25. HTSUS tariff item 2309.90.1050 has carried a duty rate of free at all times

relevant to this action, but is subject to Section 301 retaliatory duties of 25% when the goods are

imported from China.




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       Plaintiff notes that, within its protest of the entry at issue in this litigation, it inadvertently (and incorrectly)
       referred to Type-A Medicated Articles as “Type-A Medicated Feeds.”

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         29.     26. Zoetis filed a protest asserting the proper tariff classification of the imported

 CTC Concentrate is under HTSUS tariff item 3003.20.0000 as “Medicaments (excluding goods of

 heading 3003, 3005 or 3006) consisting of two or more constituents which have been mixed

 together for therapeutic or prophylactic uses, not put up in measured doses or in forms or packings

 for retail sale: … Other, containing antibiotics.”

         30.     27. HTSUS tariff item 3003.20.0000 has carried a duty rate of free at all times

 relevant to this action.

         31.     28. Goods classified under HTSUS tariff item 3003.20.0000 are not subject to

 Section 301 retaliatory duties when imported from China.

                                              COUNT I

                Classification of the CTC Concentrate Pursuant to GRI 1Under
                                 HTSUS Subheading 2941.30.00

         32.     29. The allegations of Paragraphs 1 through 2931 are incorporated in this Paragraph

 by reference as if fully set forth herein.

         33.     30. HTSUS General Rule of Interpretation (“GRI”) 1 states, in relevant part,

“classification shall be determined according to the terms of the headings and any relative section

or chapter notes…”

         34.     HTSUS heading 2941 provides for “Antibiotics:”.

         35.     The Explanatory Notes for heading 2941 provide guidance on the “[a]ntibiotics”

 covered by this heading and state, in relevant part:

                 Antibiotics are substances secreted by living micro-organisms which have
                 the effect of killing other micro-organisms or inhibiting their growth. They
                 are used principally for their powerful inhibitory effect on pathogenic
                 micro-organisms, particularly bacteria or fungi, or in some cases on
                 neoplasms. They can be effective at a concentration of a few micrograms
                 per ml in the blood.



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       36.     In CBP Headquarters Ruling Letter (“HRL”) H325604 (Aug. 31, 2023), CBP held

that a Chlortetracycline Feed Grade Concentrate (“CTC-FG”) product imported by Pharmgate,

LLC (“Pharmgate”) is properly classified under HTSUS subheading 2941.30.00. HRL H325604

available                                                                                         at

https://rulings.cbp.gov/search?term=H325604&collection=ALL&sortBy=RELEVANCE&pageS

ize=30&page=1 (last visited Mar. 8, 2024).

       37.     CBP described the CTC-FG at issue in HRL H325604 as “a broad-spectrum

substance that is used in the manufacture of veterinary drug products, namely Veterinary Feed

Directive (VFD) Type A medicated articles such as Pharmgate’s Pennchlor and Deracin products.

It is described as a fine brown powder or granular substance with a characteristic smell. CTC-FG

is composed of the active ingredient of Chlortetracycline at 22-24%.” Id.

       38.     Like the CTC-FG product at issue in HRL H325604, the subject CTC-Concentrate

is a broad-spectrum antibiotic substance that is used in the manufacture of Type A Medicated

Articles. See Paragraphs 7, 20-24 above.

       39.     Like the CTC-FG product at issue in HRL H325604, the subject CTC-Concentrate

is a fine brown powder. See Paragraph 11 above.

       40.     The range of the active ingredient Chlortetracycline in the subject CTC-

Concentrate (23.8-24.7%) is nearly identical to the range of the active ingredient Chlortetracycline

in the CTC-FG product at issue in HRL H325604 (22-24%). See Paragraphs 9, 13 above.

       41.     Pharmgate, the importer of the CTC-FG product at issue in HRL H325604, is the

U.S.     subsidiary      of     Jinhe      Biotechnology      Co.,      Ltd.     (“Jinhe”).     See

https://pharmgate.com/global/pharmgate-announces-agreement-to-acquire-protatek-




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international-inc/ (stating that “Pharmgate LLC is the majority-owned US subsidiary of Jinhe

Biotechnology Co., Ltd., P. R. China”) (last visited Mar. 8, 2024).

        42.     Upon information and belief, Plaintiff alleges the CTC-FG product at issue in HRL

H325604 was manufactured by Jinhe.

        43.     Jinhe was also the manufacturer of the subject CTC Concentrate that was imported

by Plaintiff in this action. See Paragraph 8 above.

        44.     The CTC-FG at issue in HRL H325604 was approved by the FDA’s Center for

Veterinary Medicine under Veterinary Master File 005-468. HRL H325604.

        45.     The subject CTC Concentrate that was imported by Plaintiff in this action was also

approved by the FDA’s Center for Veterinary Medicine under VMF 005-468.

        46.     Upon information and belief, the subject CTC Concentrate is identical in all

material respects to the CTC-FG articles described in HRL H325604.

        47.     CBP’s conclusion in HRL H325604 was based, in part, on its finding that

“[m]edicinal feed preparations of a kind designed to be used by veterinarians are excluded from

heading 2309[.]” Id. (“In particular, [Explanatory Note] 23.09 states that ‘the preparations of this

group should not, however, be confused with certain preparations for veterinary uses. The latter

are generally identifiable by the medicinal nature and much higher concentration of the active

[antibiotic] substance[.]’”).

        48.     Like the CTC-FG product at issue in HRL H325604, the subject CTC Concentrate

is a medicinal feed preparation of a kind designed to be used by veterinarians that is excluded from

heading 2309.

        49.     CBP’s conclusion in HRL H325604 was also based, in part, on its finding that the

CTC-FG product at issue in that ruling (1) “are not supplementary feeds or supplementary



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additives intended to achieve a suitable daily diet as contemplated by heading 2309”; (2) “are not

used to make supplementary feeds or complete feeds” and, instead, are “used to produce medicated

animal feeds”; and (3) “do not provide any substantial source of nutrients in the diet of the animal”

and, instead, “are manufactured to treat animal diseases and infections.” Id.

        50.     Like the CTC-FG product at issue in HRL H325604, the subject CTC Concentrate

is not a supplementary feed or supplementary additive intended to achieve a suitable daily diet as

contemplated by heading 2309.

        51.     Like the CTC-FG product at issue in HRL H325604, the subject CTC Concentrate

is not used to make supplementary feeds or complete feeds and, instead, is used to produce

medicated animal feeds.

        52.     Like the CTC-FG product at issue in HRL H325604, the subject CTC Concentrate

does not provide any substantial source of nutrients in the diet of the animal and, instead, is

manufactured to treat animal diseases and infections.

        53.     Like the CTC-FG product at issue in HRL H325604, the subject CTC Concentrate

is used to treat and control a wide range of respiratory and enteric diseases in livestock, including

anaplasmosis, bacterial enteritis, bacterial pneumonia.

        54.     HRL H325604 has been in effect for more than 60 days and has not been modified

or revoked by CBP.

        55.     There are no other CBP ruling letters issued to Pharmgate, Plaintiff, or any other

importer concerning the tariff classification of similar chlortetracycline concentrate products.

        56.     HRL H325604 represents CBP’s official position on the tariff classification of the

CTC-FG product and similar chlortetracycline concentrate products, including the CTC

Concentrate at issue in this litigation.



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         57.      Plaintiff asserts that, pursuant to GRI 1, and in accordance with the decision in HRL

H325604, the subject CTC Concentrate is properly classified in HTSUS subheading 2941.30.00,

which provides for as “Antibiotics: Tetracyclines and their derivatives; salts thereof.”

         58.      HTSUS subheading 2941.30.00 has carried a duty rate of free at all times relevant

to this action.

                                              COUNT II

                          Classification of the CTC Concentrate Under
                         HTSUS Subheading 3003.20.00 Pursuant to GRI 1

                                          (in the alternative)

         59.      The allegations of Paragraphs 1 through 58 are incorporated in this Paragraph by

reference as if fully set forth herein.

         60.      If the CTC Concentrate is not determined to be classified under HTSUS

Subheading 2941.30.00, the CTC Concentrate is properly classified under HTSUS Subheading

3003.20.00 pursuant to GRI 1.

         61.      31. HTSUS heading 3003 provides for “Medicaments (excluding goods of heading

3003, 3005 or 3006) consisting of two or more constituents which have been mixed together for

therapeutic or prophylactic uses, not put up in measured doses or in forms or packings for retail

sale.”

         62.      32. The tariff terms “medicament,” “therapeutic,” and “prophylactic” are not

defined in the HTSUS.

         63.      33. This Court has not defined the tariff term “medicament.”

         64.      34. CBP has defined the tariff term “medicament” in CBP Headquarters Ruling

Letter (“HRL”) H121544 (Oct. 6, 2014) as follows:




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             •   a “medication”, which is “as medicine; substance for curing or healing, or for

                 relieving pain”; and

             •   “a substance used in therapy.”

HRL     H121544        available    at    https://rulings.cbp.gov/search?term=H121544&collection

=ALL&sortBy=RELEVANCE&pageSize=30&page=1 (last visited AugFeb. 287, 20212024)

(citing Webster’s New World College Dictionary 894 (fourth ed. 2007) and Merriam-Webster,

Medicament, available at http://www.merriam-webster.com/dictionary/medicament) (last visited

Feb. 7, 2024).

       65.       35. This Court defined the tariff terms “therapeutic” and “prophylactic” in Warner-

Lambert Co. v. United States, 28 C.I.T. 939, 946 (2004) aff’d 425 F.3d 1381 (Fed. Cir. 2005)

(interpreting HTSUS heading 3004 as a “use” provision that provides for “[m]edicaments … for

therapeutic or prophylactic uses, put up in measured doses…”).

       66.       36. In Warner-Lambert, this Court defined the tariff term “therapeutic” as follows:

             •   “[r]elating to therapeutics or to the treatment of disease” Id. at 946 (citing

                 Stedman’s Medical Dictionary, page 1587 (25th ed. 1990)) (internal citations

                 omitted); and

             •   “of or relating to the treatment of disease or disorders by remedial agents or

                 methods: CURATIVE, MEDICINAL” Id. (citing Webster'’s Third New

                 International Dictionary Unabridged, page 2372 (1981)) (internal citations

                 omitted).

       67.       37. In Warner-Lambert, this Court defined the tariff term “prophylactic” as follows:




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             •   “1. Preventive; preventing disease; relating to prophylaxis. 2. An agent that acts to

                 prevent a disease.” Id. at 946 (citing Stedman'’s Medical Dictionary, page 1286

                 (25th ed. 1990)) (internal citations omitted); and

             •   “guarding from disease: preventing or contributing to the prevention of disease” Id.

                 (citing Webster'’s Third New International Dictionary Unabridged, page 1818

                 (1981)) (internal citations omitted).

       68.       38. The Harmonized Commodity Description and Coding System Explanatory Notes

(“Explanatory Notes” or “ENs”) represent the World Customs Organization’s official interpretation of

the Harmonized System (“HS”), upon which the HTSUS is based and may be useful in classifying a

product under the HTSUS.

       69.       39. The Explanatory Notes for heading 3003 provide guidance on the

“medicaments” covered by this heading and state, in relevant part:

                 This heading covers medicinal preparations for use in the internal or
                 external treatment or prevention of human or animal ailments. These
                 preparations are obtained by mixing together two or more substances.

                                               *         *    *

                 The heading includes … [p]reparations containing a single pharmaceutical
                 substance together with an excipient, sweetening agent, agglomerating
                 agent, support, etc.

                                               *         *    *

                 [T]he heading covers preparations in which the foodstuff or the beverage
                 merely serves as a support, vehicle or sweetening agent for the medicinal
                 substances (e.g., in order to facilitate ingestion). [Emphasis added.]

See also Nutricia North America, Inc. v. United States, No. 16-00008 (Ct. Int’l Trade Dec.

4, 2023) (“A food or beverage intended to treat a specific disease or ailment is not within

[the] scope [of Headings 3003 or 3004], unless it is based on a ‘medicinal substance’ that,

as instructed by [Explanatory Note] 30.03 and [Explanatory Note] 30.04, is not ‘added

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solely to ensure a better dietetic balance, to increase the energy-giving or nutritional value

of the product or to improve its flavour.’”).2

       70.     40. The subject CTC Concentrate is used to treat and control a wide range of

respiratory and enteric diseases in livestock, including bacterial pneumonia, bacterial enteritis,

anaplasmosis, and other diseases.

       71.     41. Because the CTC Concentrate is a substance used in the curing, healing, or

therapy of animal diseases, it meets the definition of a “medicament.”

       72.     42. The subject CTC Concentrate consists of a medicinal substance

(Chlortetracycline an antibiotic(the only active ingredient) mixed with another substance for

support (the carrier media or mycelial cake), microbial cells, residual nutrients, other fermentation

components, and metabolic products.

       73.     43. Because the CTC Concentrate consists of Chlortetracycline that has been mixed

with the carrier mediummultiple components (i.e., mycelial cake, microbial cells, residual

nutrients, other fermentation components, and metabolic products), it consists of “two more or

more constituents which have been mixed together.”

       74.     44. Because the CTC Concentrate is a substance that both treats and prevents

animal diseases, it is for “therapeutic” and “prophylactic” uses.

       75.     45. The CTC Concentrate is imported in bulk bags and, therefore, is not put up in

measured doses or in forms or packings for retail sale.

       76.     46. Plaintiff asserts that, pursuant to GRI 1, the subject CTC Concentrate is properly

classified in HTSUS subheading 3003.20.00 as “Medicaments (excluding goods of heading 3003,

3005 or 3006) consisting of two or more constituents which have been mixed together for



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       Notice of appeal docketed on February 5, 2024 (Nutricia North America, Inc. v. United States, 2024-1436).

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therapeutic or prophylactic uses, not put up in measured doses or in forms or packings for retail

sale: … Other, containing antibiotics.”

        77.     47. HTSUS subheading 3003.20.00 has carried a duty rate of free at all times

relevant to this action.

                                             COUNT III

                        Classification of the CTC Concentrate Under
                      HTSUS Subheading 3003.20.00 Pursuant to GRI 3(a)

                                         (in the alternative)

        78.     48. The allegations of Paragraphs 1 through 4877 are incorporated in this Paragraph

by reference as if fully set forth herein.

        79.     49. If the tariff classification of the CTC Concentrate is not determined accordingto

be classified under HTSUS Subheading 3003.20.00 pursuant to GRI 1 of the HTSUS, then the

tariff classification of such articles is determined according to GRI 3.

        80.     50. GRI 3 provides, in three parts, the tariff classification rules for goods that are

prima facie classifiable under two or more headings of the HTSUS.

        81.     51. GRI 3(a) provides, in pertinent part, that “[t]he heading which provides the most

specific description shall be preferred to headings providing a more general description.”

        82.     52. The proposition set out in GRI 3(a) is known as the “rule of relative specificity”

because the heading with requirements more difficult to satisfy will prevail and be applied over a

more general heading.

        83.     53. Classification of the CTC Concentrate may be considered under HTSUS

heading 2309 (preparations of a kind used in animal feeding) or heading 3003 (medicaments

consisting of two or more constituents which have been mixed together or prophylactic uses).




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        84.     54. While HTSUS heading 2309 covers preparations used for animal feeding, it

does not address the full purpose of the subject CTC Concentrate as this product must undergo

post-importation processing to be used for animal feeding.

        85.     55. HTSUS heading 3003 covers the CTC Concentrate in its entirety because it is

a medicament consisting of two or more constituents mixed together for prophylactic uses and

describes the CTC Concentrate in its condition as imported.

        86.     56. Taking into consideration the language of the applicable HTSUS headings, the

CTC Concentrate is properly classified under HTSUS heading 3003 as it provides the most specific

description of these articles according to the rule of relative specificity, GRI 3(a).

        87.     57. Plaintiff asserts that, pursuant to GRI 3(a), the CTC Concentrate is properly

classified in HTSUS subheading 3003.20.00 as “Medicaments (excluding goods of heading 3003,

3005 or 3006) consisting of two or more constituents which have been mixed together for

therapeutic or prophylactic uses, not put up in measured doses or in forms or packings for retail

sale: … Other, containing antibiotics.”

        88.     58. HTSUS subheading 3003.20.00 has carried a duty rate of free at all times

relevant to this action.

                                             COUNT IIIV

                       Classification of the CTC Concentrate Under
                     HTSUS Subheading 3003.20.00 Pursuant to GRI 3(b)

                                         (in the alternative)

        89.     59. The allegations of Paragraphs 1 through 4888 are incorporated in this Paragraph

by reference as if fully set forth herein.




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        90.     60. If the tariff classification of the CTC Concentrate is not determined accordingto

be classified under HTSUS Subheading 3003.20.00 pursuant to GRI 1 or GRI 3(a), then the tariff

classification of such articles is determined according to GRI 3(b).

        91.     61. GRI 3(b) provides, in pertinent part, that “[m]ixtures, composite goods

consisting of different materials or made up of different components, and goods put up in sets for

retail sale, which cannot be classified by reference to 3(a), shall be classified as if they consisted

of the material or component which gives them their essential character . . .”

        92.     62. Essential character may be based on the nature of a material or component, its

bulk, quantity, weight, or value, or by the role of a constituent material in relation to the use of the

good. ENs VIII to GRI 3(b).

        93.     63. The CTC Concentrate is a medicament for prophylactic uses that is used in the

manufacture of Type-A Medicated Feed Articles, which in turn, are used in the manufacture of

Type-C Medicated Feeds.

        94.     64. Classification of the CTC Concentrate may be considered under HTSUS

heading 2309 (preparations of a kind used in animal feeding) or heading 3003 (medicaments

consisting of two or more constituents which have been mixed together or prophylactic uses).

        95.     65. The primary function of the CTC Concentrate is as a medicament to prevent or

control certain illnesses or diseases in livestock

        96.     66. The most critical component of the CTC Concentrate is its CTC (CAS No. 57-

62-5), which, on its own is a medicament.

        97.     67. The CTC Concentrate would not be useful as a preparation for use in the

manufacture of Type-A Medicated Feed Articles or, subsequently Type-C Medicated Feeds if it

did not contain the medicament, CTCChlortetracycline.



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        98.     68. The CTCChlortetracycline is essential to the function of the CTC Concentrate

as a medicament, while its potential use in the manufacture of animal feed products is optional.

        99.     69. The majority of the weight and value of the CTC Concentrate is provided by

the CTCChlortetracycline and the other ingredients in the CTC Concentrate have minimal or no

nutritional value.

        100.    70. Based on the nature of the CTCChlortetracycline and its value in relation to the

function of the CTC Concentrate, CTCChlortetracycline, as a medicament, provides the essential

character to the CTC Concentrate.

        101.    71. Plaintiff asserts that, pursuant to GRI 3(b), the CTC Concentrate is properly

classified in HTSUS subheading 3003.20.00 as “Medicaments (excluding goods of heading 3003,

3005 or 3006) consisting of two or more constituents which have been mixed together for

therapeutic or prophylactic uses, not put up in measured doses or in forms or packings for retail

sale: … Other, containing antibiotics.”

        102.    72. HTSUS subheading 3003.20.00 has carried a duty rate of free at all times

relevant to this action.

                                            COUNT IV

                        Classification of the CTC Concentrate Under
                      HTSUS Subheading 3003.20.00 Pursuant to GRI 3(c)

                                        (in the alternative)

        103.    73. The allegations of Paragraphs 1 through 29102 are incorporated in this

Paragraph by reference as if fully set forth herein.

        104.    74. If the tariff classification of the CTC Concentrate is not determined to be

classified under HTSUS Subheading 3003.20.00 pursuant to according to GRI 1, GRI 3(a), or GRI




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3(b) of the HTSUS, then the tariff classification of such articles is determined according to GRI

3(c).

        105.      75. GRI 3(c) provides, in pertinent part, that “[w]hen goods cannot be classified by

reference to 3(a) or 3(b), they shall be classified under the heading which occurs last in numerical

order among those which equally merit consideration.”

        106.      76. CBP liquidated the entry of the subject CTC Concentrate under HTSUS

subheading 2309.90.10.

        107.      77. Plaintiff asserts that the CTC Concentrate is properly classified in HTSUS

subheading 3003.20.00.

        108.      78. Assuming HTSUS headings 2309 and 3003 merit equal consideration, HTSUS

heading 3003 is last in numerical order as compared to HTSUS heading 2309.

        109.      79. Thus, pursuant to GRI 3(c), Plaintiff asserts that the CTC Concentrate is

properly classified under HTSUS subheading 3003.20.00 as “Medicaments (excluding goods of

heading 3003, 3005 or 3006) consisting of two or more constituents which have been mixed

together for therapeutic or prophylactic uses, not put up in measured doses or in forms or packings

for retail sale: … Other, containing antibiotics.”

        110.      80. HTSUS subheading 3003.20.00 has carried a duty rate of free at all times

relevant to this action.

                                      REQUEST FOR RELIEF

        WHEREFORE, Plaintiff requests that this Court enter judgment in its favor as follows:

        a)        determining that CBP improperly classified the subject CTC Concentrate at issue

in this action;




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         b)    determining that the subject CTC Concentrate at issue in this action is properly

classified under HTSUS subheading 2941.30.00, as set forth by Plaintiff in Count I, or,

alternatively, HTSUS subheading 3003.20.00, as set forth by Plaintiff in Counts II through IV

above;

         c)    ordering CBP to reliquidate the subject entry and refund the excess duties paid by

Plaintiff, together with interest as provided by law; and

         d)    granting such other additional relief as this Court deems just and appropriate.



                                              Respectfully submitted,

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                                              By:     /s/ William Randolph Rucker
Dated: March 12, 2024                                 Wm. Randolph Rucker




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